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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                                            Case Nos.
                                                            05-cv-764 (CKK)
DETAINEE LITIGATION                                         05-cv-1607 (RCL)
                                                            05-cv-2386 (RBW)
                                                            08-cv-1440 (CKK)
                                                            04-cv-1194 (TFH)
                                                            04-cv-2022 (PLF)
 DONALD J. TRUMP, et al.,                                   16-cv-1462 (APM)
                                                            05-cv-1592 (RCL)
                                                            05-cv-1048 (RCL)
                                                            05-cv-2380 (CKK)
                                                            05-cv-1983 (RCL)


                      NOTICE OF WITHDRAWAL OF APPEARANCE

       Please take notice that Shelby Sullivan-Bennis, the undersigned counsel on behalf of

Reprieve U.S., hereby withdraws as counsel for Petitioners in the above-captioned cases.

Petitioners will continue to be represented by other counsel of record.



Dated: March 20, 2019

                                                Respectfully submitted,

                                                 /s/ Shelby Sullivan-Bennis
                                                Shelby Sullivan-Bennis (Pursuant to LCvR 83.2(g))
                                                REPRIEVE U.S.
                                                405 Lexington Ave., Fl. 64 New York, NY 10174
                                                Tel: (401) 660-6538
                                                Fax: (401) 633-6487
                                                shelby@reprieve.org

                                                Counsel for Petitioners
